                           UNITED STATES DISTRICT COURT
                                DISTRICT OF ALASKA


 UNITED STATES OF AMERICA,                          Case No. 3:19-cr-00114-JMK-MMS

                                  Plaintiff,
                                                    FINAL REPORT AND
                  v.                                RECOMMENDATION REGARDING
                                                    MOTION TO SUPPRESS EVIDENCE
 REY JOEL SOTO-LOPEZ,                               [DOC. 17]

                                  Defendant.

                                     I.        MOTION PRESENTED

        On October 15, 2019, Defendant Rey Joel Soto-Lopez (Soto-Lopez) was charged

in a three-count indictment with: 1) possession with intent to distribute controlled

substances; 2) possession of a firearm in furtherance of a federal drug trafficking crime;

and 3) felon in possession of firearms. [Dkt. 2]. Soto-Lopez, through counsel, filed a

motion [Dkt. 17], and a memorandum in support of the motion [Dkt. 18], to suppress all

evidence found in Soto-Lopez’s car “through searches by Alaska State Troopers on

March 24-25, 2019.” [Dkt. 17 at 1]. The Government filed a response opposing the

motion to suppress. [Dkt. 21). Soto-Lopez, through counsel, filed a reply brief in support

of the motion to suppress, in which he requested an evidentiary hearing on the motion.

[Dkt. 34]. On January 28, 2020, this Court held an evidentiary hearing on the motion to

suppress. (See Transcript of Hearing at Dkt. 52]. Soto-Lopez, through counsel, filed a



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post-hearing supplemental brief in support of the motion to suppress [Dkt. 50]. The

Government filed a post-hearing sur reply to Soto-Lopez’s motion to suppress. [Dkt. 51].

In response to this Court’s initial Report and Recommendation [Dkt. 59] regarding the

motion to suppress, Soto-Lopez filed an objection [Dkt. 60], and the Government filed a

reply to that objection [Dkt. 61].

        For the reasons set forth below, Soto-Lopez’s motion to suppress should be

DENIED.


                                  II. FACTUAL BACKGROUND

        On March 14, 2018, Soto-Lopez was released on discretionary parole in

connection with his conviction for a prior state felony offense. 1 Among Soto-Lopez’s

conditions of parole were conditions that prohibited or restricted his possession of certain

items (drugs, alcohol, weapons, etc.), and permitted warrantless searches for the same,

under certain circumstances. [Dkt. 21-1]. Specifically, a condition of his parole was that

“upon request by or at the direction of a parole officer at any reasonable time, I will

submit to a search of my person, my personal property, my residence, my vehicle, or any

vehicle under which I have control, for the presence of alcoholic beverages.” [Id. at 4].

        On March 24, 2019, at approximately 2:38 pm, Alaska State Trooper Howard

(Howard) conducted a traffic stop on Soto-Lopez after observing him traveling 81 miles-


1
  Soto-Lopez’s Motion to Suppress states that he was released on September 8, 2018 [Dkt. 18 at
2] but the Order of Discretionary Parole lists the release date as March 14, 2018. [Dkt. 21-1 at 2].
In either event, there is no question that Soto-Lopez was on parole, and subject to the release
conditions attached at Dkt. 21-1, on March 24, 2019.
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per-hour in a 55 miles-per-hour speed zone near milepost 58.5 on the Sterling Highway.

[Dkt. 18 at 2]. Upon being stopped, Soto-Lopez advised Howard that he was a felon on

parole for a prior state murder conviction and was traveling without a travel pass. [Dkt.

18 at 1-3]. Based upon Soto-Lopez’s disclosures, Howard hand-cuffed Soto-Lopez and

secured him in the patrol car pending completion of the traffic stop. Howard then radioed

dispatch, requested that Soto-Lopez’s parole officer be advised of the stop, and asked

about any procedures, beyond those relating to the ordinary purpose of the traffic stop,

that he should take on behalf of parole services. [Id. at 3]. Dispatch advised Howard that

the parole officer—Eileen Ferrar—wanted Soto-Lopez’s car searched for alcohol. 2 [Id.].

At minute 12:16 on the dashcam footage, Howard approached Soto-Lopez’s vehicle and

began to conduct a search of the front section of Soto-Lopez’s vehicle, beginning with

the car door. At 12:45, Howard held something up to his nose and audibly smelled it. At

13:15 he began searching the interior front passenger section of the vehicle. At 14:03 he

briefly stopped searching to speak with the dispatcher, who informed him that Soto-

Lopez’s P.O. had confirmed that he did not have a travel permit and wanted Howard to 1)

issue Soto-Lopez a ticket; and 2) have him report to Anchorage probation on Tuesday. At

14:38, before recommencing his search, Howard asked dispatch whether the P.O. had

said anything about marijuana, to which dispatch responded “they didn’t mention, but I

can check?” Howard responded “They didn’t have any. I was just curious.” During that


2
  Specifically, dispatch stated “PO’s requesting a search for alcohol.” (Exhibit 6 at 11:21.). While
dispatch did not specifically refer to a search of the vehicle for alcohol, given that the direction
was given in the context of a traffic stop, it is reasonable to conclude that the PO was authorizing
a search of both Soto-Lopez’s vehicle and person for alcohol.
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exchange Howard was conducting a search of the vehicle’s center console and ultimately

found: 1) a digital scale; and 2) three small Ziploc baggies, two of which appeared to

have heroin residue in them, one of which appeared to have a small amount of heroin in

it. 3 [Id.; Dkt. 21 at 2]. After walking around to the passenger side of the vehicle at 15:39

(Exhibit 6), he also found several used syringes within a tote bag on the passenger-side

floor board. [Dkt. 18 at 3; Dkt. 21 at 2-3]. At 17:40 Howard then proceeded to open the

rear-hatch of the vehicle and conduct a quick search of its contents, which appeared to

mostly consist of a plastic bag and orange duffle or backpack—but found nothing. At

18:20 he moved to the right rear passenger seat and conducted an approximately 20

second search but also found nothing of note. Howard subsequently photographed the

vehicle from behind, then opened the drivers-side door and leaned in to arrange and take

photographs of the items he had removed from the center console and placed on the

driver’s seat.

        Based upon his discovery of the baggies, scale, and syringes, Howard, through

dispatch, re-contacted Soto-Lopez’s parole officer, who advised the Trooper to arrest

Soto-Lopez for violation of parole conditions. [Dkt. 18 at 3]. Soto-Lopez was then

arrested, and Howard conducted a complete and more thorough search of the car, but

found no additional items of contraband or other evidentiary value. [Id.].




3
 At 14:54 Howard reported finding a “scale and what looks like an ounce of heroin.” (Exhibit
6).
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        When Soto-Lopez asked Howard what would happen to his vehicle, Howard

responded “its gonna get impounded. . . it’s gonna go to Soldotna.” [Exhibit 6 at 46:19].

Soto-Lopez then asked if someone could come get it from Anchorage, to which Howard

responded that he could not because he lacked cellphone reception and couldn’t wait

there. After completing his search of Soto-Lopez’s car, Howard, through dispatch, called

for a tow truck to remove the car from the roadside. [Id. at 4]. Soto-Lopez asked if he

could arrange to have someone pick up his vehicle, but Howard said that he could not

because he had “already called for a tow truck.” [Dkt. 18 at 4; Dkt. 21 at 3]. Another

trooper waited with the vehicle until a driver from ASAP Towing, Ira Beck, arrived with

a flatbed truck. [Dkt. 21 at 3]. During the evidentiary hearing, Beck testified that he

received no instructions from dispatch, or any trooper on the scene when he arrived,

about what he should do with Soto-Lopez’s car, beyond simply take it to ASAP’s lot.

[Dkt. 52 at 137]. Beck drove the car onto the back of his flatbed truck, secured it with

four straps, and then drove his truck to the ASAP Towing lot. [Id. at 137-8].

Approximately three and a half hours after Howard initially stopped Soto-Lopez, Beck

phoned the Alaska State Troopers and reported finding drugs in Soto-Lopez’s car. [Dkt.

18 at 4]. Based upon Beck’s testimony during the evidentiary hearing, he “noticed the

contraband in the back seat” of the car when he went to remove the vehicle from the

flatbed. 4 [Dkt. 52 at 138]. Specifically, per Beck:


4
  While both Soto-Lopez and the Government, in their respective filings [e.g. Dkt. 21 at 3] stated
that Beck told the troopers that he had found the suspected drugs during an inventory search of
the vehicle, according to Beck’s testimony at the evidentiary hearing, ASAP towing does not
perform inventory searches. Rather, they simply “take a scan of what’s in the vehicle when
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          I got in the vehicle, was going to back it off the truck, put my arm behind
          the passenger's seat, looked in the back. There's a[n unzipped but closed]
          case in the back seat, probably a two-inch triangle sticking out of it, corner
          of a plastic bag. Had meth in it. That's when I got out of the vehicle,
          relocked the vehicle down to the bed. Called the troopers and said it was
          coming their way. [Dkt. 52 at 139].

          According to Beck, he recognized that the substance in the corner of the plastic

bag was meth because he is “in the towing business. . . [and] see[s] a lot of it. . . [since]

90 percent of the stuff [they] pick up these days is drug-related.” [Id. at 140]. Beck also

stated that he was, at that point, unaware of the reason that Soto-Lopez had been arrested.

[Id.].

          Beck subsequently re-secured Soto-Lopez’s car to the flatbed truck and drove it to

the Alaska State Troopers’ Soldotna Office, where he unloaded it into their garage bay.

[Id. at 141]. Beck reportedly told the troopers that the container with the suspected

methamphetamine was in plain view on the back seat, but did not specifically point it out

or provide any further instruction. [Id. at 142]. Beck was not interviewed by the troopers

when he dropped off the car, or subsequently. [Id. at 143].

          After securing a warrant on March 25, 2019, the troopers conducted a search of

Soto-Lopez’s vehicle and found a lock box “that was open slightly and appeared to have

been forced on the rear passenger seat.” [Dkt. 21 at 4]. The box contained

methamphetamine. The troopers also found several hard-sided cases that contained

methamphetamine, heroin, three loaded pistols, and a wallet containing Soto-Lopez’s



[they] get in and out of” it to look for “low hanging fruit. . . like an iPad sitting in the seat.” [Dkt.
52 at 143]. If they do find low hanging fruit, per Beck, they lock it in a secure place. Id.
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social security card. [Dkt. 21 at 4]. Next to one of the cases with a pistol was a silencer

that fit the pistol. In all, more than 300 grams of methamphetamine and over 60 grams of

heroin were allegedly seized from Soto-Lopez’s vehicle. [Dkt. 21 at 4].

        On October 15, 2019, the United States charged Soto-Lopez with possession of

controlled substances with intent to distribute, felon in possession of a firearm, and

possession of a firearm in furtherance of a drug trafficking crime.

                                  III. LEGAL STANDARD

        When government actors conduct a search without a warrant, even within the

context of a valid investigatory stop, they have presumptively violated the Fourth

Amendment. 5 Parolees do not enjoy the same Fourth Amendment protections as ordinary

citizens, however. 6 Consequently, warrantless searches that would not pass constitutional

muster if non-parolees were the targets, often do so when the targets are parolees. 7 Based

on their diminished expectation of privacy and the need of parole officers to supervise

them, parolees may be searched by law enforcement officers acting on the delegated

authority of parole officers. 8



5
  See Arizona v. Gant, 556 U.S. 332, 338 (2009) (“our analysis begins, as it should in every case
addressing the reasonableness of a warrantless search, with the basic rule that ‘searches
conducted outside the judicial process, without prior approval by judge or magistrate, are per se
unreasonable under the Fourth Amendment—subject only to a few specifically established and
well-delineated exceptions.’) (quoting Katz v. United States, 389 U.S. 347, 357 (1967)).
6
  See Smith v. City of Santa Clara, 876 F.3d 987, 991-94 (9th Cir. 2017) (noting both decreased
privacy interests of, and increased governmental interest in supervising, parolees and
probationers).
7
  United States v. Scott, 450 F.3d 863, 877 (9th Cir. 2006) (citing United States v. Consuelo-
Gonzalez, 521 F.2d 259, 259 (9th Cir.1975)).
8
  United States v. Knights, 534 U.S. 112 (2001).
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           As with other exceptions to the warrant requirement, the burden of proving that a

vehicle is lawfully impounded rests with the government. 9

           Any evidence seized from a defendant in a criminal case in violation of the Fourth

Amendment is inadmissible at trial, and fruits of such evidence are inadmissible as

well. 10

                                       IV. DISCUSSION

A. Did AST Howard exceed the reasonable scope of a parole search authorized
   under state law?
           At the time Howard conducted his initial search of Soto-Lopez’s vehicle, he had

no personal knowledge of Soto-Lopez’s specific parole conditions. The only source of

authority for his search of Soto-Lopez’s car was the parole officer’s direction that he

search the car for alcohol. Soto-Lopez contends, however, that Howard’s search exceeded

the scope of a search for alcohol alone and developed into a “generalized search of the

car for evidence of any criminal activity.” [Dkt. 18 at 6-7]. 11 In particular, Soto-Lopez

argues that “[a]fter opening the center console of the car [where scale and baggies were

ultimately found], it was visually apparent that the area did not, and likely could not,



9
  Miranda v. City of Cornelius, 429 F.3d 858, 862 (9th Cir. 2005).
10
   Alderman v. United States, 394 U.S. 165, 171 (1969).
11
   Per Soto-Lopez, Howard
         first inspected the driver’s door area of the car, pulling items out of the small
        cubby on the door, opening paperwork and sniffing within a small empty bag he
        located. . .[;] inspected the area around the driver’s seat looking in locations
        where there could not reasonably have been alcohol or alcohol containers. . . [;]
        opened the small center console of the car and removed the contents, clearly
        removing items and looking through things that were not alcohol or alcohol
        related.” [Dkt. 18 at 7].
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contain alcohol.” [Id. at 9]. Nonetheless, per Soto-Lopez, Howard “clearly remov[ed]

items and look[ed] through things [in the center console] that were not alcohol or alcohol

related.” [Id. at 7]. On these points, which appear to be the linchpin of Soto-Lopez’s

argument for the search having exceed the scope of the authorized search, this Court

disagrees.

        This Court finds Howard’s testimony, that he regularly searches the center

consoles of vehicles when conducting alcohol searches due to the possibility of very

small containers of alcohol being concealed there, credible. [Dkt. 52 at 82-3]. This Court

also finds it objectively reasonable that, within the context of a properly conducted traffic

stop of a parolee, in response to a direction from the parolee’s parole officer to search for

alcohol, 12 Howard would have searched the center console—and any other compartments

or bags, such as a tote-bag on the passenger-side floor board of the car, within reach of

the parolee while driving—that could have conceivably contained a small bottle of

alcohol. This Court also finds it reasonable that Howard would have removed the

contents of the center console as he conducted his search in order to confirm that there

were no containers concealed beneath those items. 13




12
   In the context of a traffic stop it is reasonable to construe a dispatcher’s statement that “PO’s
requesting a search for alcohol” [Dkt. 51 at 5] as authorizing a search of both the parolee and his
vehicle for alcohol.
13
   As anyone who has ever searched for something in a center console filled with multiple items
can attest, the most efficient and expedient way to do so is to remove the other contents until one
can see the bottom of the console.
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        Accordingly, because 1) Howard was acting at the direction of Soto-Lopez’s

parole officer when he searched the center console, and the tote-bag on the passenger-

side floor board, of Soto-Lopez’s car; 2) Soto-Lopez’s parole conditions authorized a

search of his person and vehicle for the presence of alcoholic beverages “at the direction

of a parole officer at any reasonable time;” 3) it was reasonable for Howard to have

believed that a small container of alcohol could have been concealed in the center

console, as well as the tote-bag; and 4) the manner in which Howard searched the center

console and tote-bag was reasonable, this Court finds that Howard did not exceed the

reasonable scope of a parole search authorized under state law.

B. Was evidence discovered during the March 25, 2019 search of Soto-Lopez’s car
   fruit of the poisonous tree?
        While based upon the court’s reading of Alaska Administrative Code §13 AAC

02.345(c), Officer Howard likely did violate Alaska state law when he had Soto-Lopez’s

vehicle towed, 14 for the reason explained below, the evidence discovered during the

March 25, 2019, search of Soto-Lopez’s car is not tainted by that violation.


14
  Per Alaska Administrative Code §13 AAC 02.345(c):
        When a police officer arrests and detains the driver of a motor vehicle the officer
        shall impound and remove the vehicle to a place of safety; however, the officer
        shall inform the driver that he may elect to have another immediately available
        person, who is legally licensed to drive a motor vehicle, drive or otherwise
        remove the vehicle as the driver directs. The driver may designate the nearest
        available garage or tow car operator of his choosing to remove the vehicle. If the
        driver does not so indicate, the officer shall make the arrangements necessary to
        remove the vehicle.
Based upon this Court’s reading of this section, the use of “shall” indicates that Howard
had an affirmative legal obligation to inform Soto-Lopez that he could have someone of
his choosing, who was “immediately available,” pick up and take charge of his vehicle
or, barring that, allow Soto-Lopez to designate the nearest available garage or tow truck
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        1. AST Howard’s impoundment of Soto-Lopez’s vehicle was not a Fourth
           Amendment violation.
        As the Ninth Circuit has explained, “[e]vidence derivative of a Fourth Amendment

violation—the so-called ‘fruit of the poisonous tree,’ Wong Sun v. United States, 371 U.S.

471, 488 (1963)—is ordinarily ‘tainted’ by the prior ‘illegality’ and thus inadmissible,

subject to a few recognized exceptions.” 15 In order for evidence to be tainted, of course, it

must have been derived from an actual Fourth Amendment violation. In this case,

Howard’s decision to instruct his dispatcher to arrange for the vehicle to be removed

without first providing Soto-Lopez with the opportunity to arrange for “another

immediately available person” to remove his vehicle or, in the alternative, “designate the

nearest available garage or tow car operator of his choosing to remove the vehicle,” did

violate Alaska Administrative Code §13 AAC 02.345(c). 16 It did not, however, violate

Soto-Lopez’s Fourth Amendment rights, because the impoundment was warranted under

the community caretaker doctrine. 17

        As the 9th Circuit has explained, “[w]hether an impoundment [of a vehicle,

following its driver’s arrest] is warranted under the community caretaking doctrine depends


operator of his choosing. In this case, Howard not only failed to inform Howard that he
could have someone pick up his vehicle, but specifically refused his request to do so on
the grounds that Howard has already called a tow truck. While the government contends
that Soto-Lopez would not have had anyone available, the fact is that he was both
improperly denied the opportunity to name someone, and improperly denied the
opportunity to designate the garage of tow truck operator to remove his vehicle.
15
   United States v. Gorman, 859 F.3d 706, 716 (9th Cir.), order corrected, 870 F.3d 963 (9th Cir.
2017) (citing United States v. Washington, 490 F.3d 765, 774 (9th Cir. 2007)).
16
   See infra note 14.
17
   §13 AAC 02.345(c) provides additional steps that Howard should have followed before
impounding the vehicle, and which Howard failed to follow, but that does not change the fact
that he was authorized to arrange for the Vehicle’s removal.
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on the location of the vehicle and the police officers’ duty to prevent it from creating a

hazard to other drivers or from being a target for vandalism or theft.” 18 Howard testified

that he believed the vehicle was at risk of vandalism, due to its location in a remote section

of the Sterling Highway, and this Court finds his testimony to be credible. 19 The Court also

finds it objectively reasonable that a car left unattended in a remote and low foot-traffic

section of the Sterling Highway might be at risk of vandalism or theft. There is no evidence

that Howard had the vehicle impounded for any unlawful, non-community caretaker,

purposes. 20 As Howard explained at the evidentiary hearing, “when [troopers] impound

vehicles, [they] can either have an investigative impound to the trooper post and apply for

a search warrant, or we can just have it impounded to the tow yard.” 21 In this case he

explicitly had the vehicle impounded to a private tow yard, from which Soto-Lopez could

arrange to retrieve it at a later date, rather than the trooper post, which further supports the

government’s contention that he had no further investigatory purpose for the impound.




18
   United States v. Caseres, 533 F.3d 1064, 1075 (9th Cir. 2008) (citing United States v.
Jensen, 425 F.3d 698, 706 (9th Cir.2005) (“Once the arrest [is] made, the doctrine allow[s] law
enforcement officers to seize and remove any vehicle which may impede traffic, threaten public
safety, or be subject to vandalism.”)).
19
   Soto-Lopez contends that “the location of the traffic stop. . . was [already] a place of safety. .
.” [Dkt. 18 at 11] and that Howard thus had not reason to remove the vehicle elsewhere, but this
Court is not prepared to second-guess a law enforcement officer’s assessment that he had
concerns that the car could be vandalized if left unattended in a remote section of the Sterling
Highway and has previously seen vandalized cars in similarly remote sections of the Sterling
Highway. See Dkt. 52 at 90 (where Howard states that he believed there to be a high likelihood
that a vehicle left on the “side of the Sterling or Seward Highway” would be vandalized). It is
also objectively reasonable
20
   See United States v. Feldman, 788 F.2d 544, 553 (9th Cir.1986) (discussing unlawful
motivation for impounding and inventorying vehicle).
21
   Dkt. 52 at 89.
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Accordingly, this Court concludes that Howard did not violate Soto-Lopez’s Fourth

Amendment rights when he arranged to have the vehicle impounded to ASAP Towing’s

private lot.

        2. The warrantless search of Soto-Lopez’s vehicle by an ASAP Towing
           employee did not constitute a Fourth Amendment violation because the
           employee who conducted the search was a private party and was not
           acting at the direction of law enforcement.

        In this case, the search that revealed the evidence relied upon by the Troopers

when they applied for a warrant to search Soto Lopez’s vehicle on March 25, 2019, was

conducted by a private party, Beck, who worked for ASAP Towing. As the Ninth Circuit

has explained: “[w]here the search and seizure [at issue] is by private persons not assisted

by or arranged for by the police, the Fourth Amendment [thus] does not apply.” 22 The

Supreme Court as well has “consistently construed [the Fourth Amendment’s] protection

as proscribing only governmental action; it is wholly inapplicable to a search or seizure,

even an unreasonable one, effected by a private individual not acting as an agent of the

Government or with the participation or knowledge of any governmental official.” 23 This

is because the Fourth Amendment’s guarantee against unreasonable search and seizure

was intended to restrain the activities of governmental agencies, not private conduct. The

salient question is thus whether Beck’s search was in any way instigated, participated in,

or encouraged by any member of the Alaska State Troopers.




22
   United States v. Ellison, 469 F.2d 413, 415n.2 (9th Cir. 1972) (citing Burdeau v. McDowell,
256 U.S. 465 (1921)); Eisentrager v. Hocker, 450 F.2d 490 (9th Cir. 1971).
23
   United States v. Jacobsen, 466 U.S. 109, 113–14 (1984).
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        Based upon the facts and testimony reviewed by this Court, the answer to that

question appears to be no. According to Howard’s testimony, he had no prior experience

with the driver or ASAP Towing; was unfamiliar with how either of them “handle[d]

things;” and it was the dispatcher, rather than Howard, who chose ASAP Towing to

impound the vehicle. 24 According to Beck’s testimony, in turn, there were no special

procedures or standard tasks that he was expected to perform when impounding a vehicle

at the request of the troopers. 25 In this case, specifically, Beck testified that he received

no instructions from the troopers beyond that he should “[t]ake it to the lot, impound it to

[his] lot.” 26 He also testified that he was unaware of the reason that the vehicle was being

impounded. 27 It was only after transporting the vehicle back to ASAP Towing’s lot, when

he went to unstrap the vehicle from the back of his flatbed truck, that he “noticed the

contraband in the back seat,” at which point he contacted the troopers to arrange to

transfer the vehicle to their possession. 28 While the fact that the Troopers reported finding

a lock box that was “open slightly and appeared to have been forced on the rear passenger

seat” 29 when they later executed their search warrant leads this Court to question whether

Beck’s search of the vehicle was as cursory and limited as he claimed, from a Fourth

Amendment perspective, the intrusiveness or propriety of the search is irrelevant. 30 What


24
   Dkt. 52 at 122.
25
   Dkt. 52 at 135.
26
   Dkt. 52 at 137.
27
   Dkt. 52 at 141.
28
   Dkt. 52 at 138.
29
   Dkt. 21 at 4.
30
   See Walter v. United States, 447 U.S. 649, 656 (1980) (stating, “it has, of course, been settled
since Burdeau v. McDowell that a wrongful search or seizure conducted by a private party does
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matters is whether Beck acted privately, or as an instrument of the government. This

Court is satisfied that he acted privately and that, as a result, his search did not implicate

the Fourth Amendment, even when he turned the evidence over to the police. 31 There is,

accordingly, no basis for excluding the fruits of Beck’s search, or the fruits of the later

search conducted by Alaska State Troopers pursuant to the warrant they received based

upon the information provided by the driver. 32


                    VI. Objections to Initial Report & Recommendation


        Soto-Lopez does not object to this Court’s factual findings regarding “the stop,

seizure and search of [his person] and his vehicle.” 33 What Soto-Lopez does object to are:

1) this Court’s legal conclusion that Officer Howard “did not exceed the reasonable scope

of a parole search authorized under state law;” 34 and 2) this Court’s legal conclusion that




not violate the Fourth Amendment and that such private wrongdoing does not deprive the
government of the right to use evidence that it has acquired lawfully”).
31
   See Jacobsen, 466 U.S. at 113 (holding that no Fourth Amendment “search” occurred when a
private shipping company opened damaged package and turned the contents over to the
government).
32
   The situation would be different if the tow truck company conducted inventory searches of all
impounded vehicles pursuant to an agreement with the troopers, and the driver had found the
contraband during such a search. See Ferguson v. City of Charleston, 532 U.S. 67, 76–77 (2001)
(holding that state hospital’s policy to test for evidence of cocaine use in pregnant patients was
government action because it was done in conjunction with the police).
33
   Dkt. 60 at 1 (quoting Dkt. 59 at 10).
34
   Id. Specifically, Soto-Lopez contends that, “based on the layout and nature of the center
console of [his] vehicle, it was unreasonable for Howard to believe alcohol would be found
inside and therefore his search of that area was beyond the scope of the authorized parole
search.” Dkt. 60 at 2
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Officer Howard did not violate Soto-Lopez’s Fourth Amendment rights when he

arranged to have the vehicle impounded to ASAP Towing’s private lot. 35

          Regarding Soto-Lopez’s first objection, which references the initial motion at Dkt.

17 for support, but cites no further caselaw, the sole purpose of the objection appears to

be to preserve the issue for appeal. That is Soto-Lopez’s prerogative, but does not require

a separate response. See supra Section IV(A) for discussion of the basis for this Court’s

concluding that Howard did not exceed the scope of a parole search.

          Regarding Soto-Lopez’s second objection, for the reasons explained below, this

Court stands by its conclusion that Howard did not violate Soto-Lopez’s Fourth

Amendment rights when he arranged to have Soto-Lopez’s vehicle impounded.



A. Soto-Lopez’s Fourth Amendment rights were not violated by Officer Howard’s
   impound of Soto-Lopez’s vehicle, because the impound was justified under the
   community caretaker doctrine.

          Soto-Lopez objects to this Court’s conclusion that Howard’s impound of Soto-

Lopez’s vehicle was justified under the community caretaker doctrine. There are several

shortcomings in Soto-Lopez’s argument.

          First, Soto-Lopez incorrectly states the standard for assessing the reasonableness

of an impound under the community caretaker doctrine. Specifically, per Soto-Lopez:

          the reasonableness of the impoundment under the community caretaking
          function depends on whether the impoundment fits within the “authority of




35
     Dkt. 60 at 2 (referencing Dkt. 59 at 10-12).
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        police to seize and remove from the streets vehicles impeding traffic or
        threatening public safety and convenience ...” 36

Viewing the Opperman court’s statement in context, however, it is clear that the court

was neither citing to, nor seeking to establish, a standard for assessing the reasonableness

of an impound under the community caretaker doctrine when it made that statement. On

the contrary, the court was simply providing an example of one, but by no means the

only, exercise of police authority that serves a community caretaker function and “. . . is

beyond challenge.” 37

        Second, Soto-Lopez contends that arranging for his vehicle to be removed from

the highway was “legally unnecessary” because, it could be argued that his vehicle was

not at significant risk of being broken into and was not obstructing traffic. 38 The shortfall

in this argument is that it is not a legal argument. What Soto-Lopez has essentially argued



36
   Dkt. 60 at 3 (quoting South Dakota v. Opperman, 428 U.S. 364, 369 (1976)).
37
   Opperman, 428 U.S. at 369 (1976). The full quote is as follows:
        In the interests of public safety and as part of what the Court has called
        "community caretaking functions," Cady v. Dombrowski, supra at 413 U. S. 441,
        automobiles are frequently taken into police custody. Vehicle accidents present
        one such occasion. To permit the uninterrupted flow of traffic and in some
        circumstances to preserve evidence, disabled or damaged vehicles will often be
        removed from the highways or streets at the behest of police engaged solely in
        caretaking and traffic control activities. Police will also frequently remove and
        impound automobiles which violate parking ordinances and which thereby
        jeopardize both the public safety and the efficient movement of vehicular traffic.
        [Footnote 3] The authority of police to seize and remove from the streets vehicles
        impeding traffic or threatening public safety and convenience is beyond
        challenge. Id. at 368-9.
38
   See Dkt. 60 at 3 (stating that there were “6-7 hours” of daylight remaining, the vehicle could
be locked and was located along a major highway, and Soto-Lopez had indicated that he could
arrange for someone to pick up the vehicle). Soto-Lopez also incorrectly states that “The
authority of police to seize and remove from the streets vehicles impeding traffic or threatening
public safety and convenience is beyond challenge.
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is simply that he disagreed with Howard about the potential consequences of leaving his

vehicle unattended. As this Court has already observed supra note 19:

        this Court is not prepared to second-guess a law enforcement officer’s
        assessment that he had concerns that the car could be vandalized if left
        unattended in a remote section of the Sterling Highway and has previously
        seen vandalized cars in similarly remote sections of the Sterling Highway.

        Third, the case to which Soto-Lopez cites to support his assertion that Howard’s

impound of Soto-Lopez’s vehicle “solely to avoid potential vandalism was

unreasonable,” does not support that assertion. 39 In the cited-to case, Miranda v. City of

Cornelius, the court correctly states that a “decision to impound a vehicle that is not

consistent with the police’s role as ‘caretaker’ of the streets may be unreasonable;” and

that “[t]he policy of impounding the car without regard to whether the defendant can

provide for its removal is patently unreasonable if the ostensible purpose for

impoundment is for the ‘caretaking’ of the streets.” 40 The Miranda court accordingly

found it unreasonable for a police officer to impound a vehicle that was legally parked in

the home driveway of a defendant, following his arrest for violating a vehicle

regulation. 41 Soto-Lopez ignores that the facts of the Miranda case are not analogous to

those in the instant case. The officer’s justification in the Miranda case is different from

that in the present one. The Miranda court also impliedly recognized that an officer could

reasonably order an impoundment if the location of the vehicle created a “need for the



39
   Dkt. 60 at 3-4.
40
   429 F.3d 858, 865 (9th Cir. 2005) (citing United States v. Duguay, 93 F.3d 346, 352-3 (7th
Cir.1996)) (italics added for emphasis).
41
   Id. at 865-6.
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police to protect the vehicle.” 42 In the more recent case of U.S. v. Caseres (previously

cited supra note 18), the Ninth Circuit was more explicit, explaining that the community

caretaker “doctrine allow[s] law enforcement officers to seize and remove any vehicle

which may impede traffic, threaten public safety, or be subject to vandalism.” 43

        Finally, when Soto-Lopez asserts that “[o]nly caretaking functions performed

under ‘reasonable police regulations relating to [impound or] inventory procedures

administered in good faith satisfy the Fourth Amendment,’” 44 he misrepresents the

statement of the Supreme Court, in Colorado v. Bertine, in the following ways:

        1) The Court’s statement does not actually, or implicitly, reference police

            regulations relating to the decision of whether or not to impound a vehicle.

        2) Neither the language of the Court, nor the context of the statement, suggest that

            the Court was establishing a standard for assessing whether a police impound

            or inventory search violated the Fourth Amendment. Prefacing the quote with

            “only” mischaracterizes the Court’s statement regarding a sufficient condition,

            as one regarding a necessary one. 45


42
   Id. at 866 (“An officer cannot reasonably order an impoundment in situations where the
location of the vehicle does not create any need for the police to protect the vehicle or to avoid a
hazard to other drivers.”)
43
   533 F.3d at 1075 (citing Jensen, 425 F.3d at 706) (emphasis added).
44
   Dkt. 60 at 4 (quoting Colorado v. Bertine, 479 U.S. 367, 374 (1987)) (brackets added by Soto-
Lopez).
45
   Th Full quote reads:
         We conclude that here, as in Lafayette, reasonable police regulations relating to
         inventory procedures administered in good faith satisfy the Fourth Amendment,
         even though courts might as a matter of hindsight be able to devise equally
         reasonable rules requiring a different procedure.
   Bertine, 479 U.S. at 374.
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          The focus of the Court’s discussion in Bertine was upon the question of whether

the police regulation itself was reasonable, not whether the police officer had followed it.

Because Soto-Lopez did not challenge the reasonableness of the state regulation itself in

his initial motion to suppress, that is not an argument that may be introduced in an

objection to this Court’s initial R&R.

B. Even if, arguendo, Officer Howard’s decision to impound the vehicle had
   constituted a Fourth Amendment violation, the evidence discovered by Beck
   would not have been fruit of the poisons tree because Beck was a private party,
   who was not acting at the behest of law enforcement.

          Even if, arguendo, Howard’s decision to have the truck towed could be construed

as a Fourth Amendment violation, the March 25, 2019 warrant-based search by the

Troopers would still not be tainted by that underlying violation. While it is true that to

determine whether a search is tainted by a prior illegality courts look to the causal

connection between the illegality and the derivative evidence, the Supreme Court has

stopped short of adopting a “per se” or “but for” rule that would make inadmissible any

evidence that somehow came to light through a chain of causation that began with an

illegal search or arrest. 46

          In this case, the chain of causation between the alleged illegal act—Howard’s

decision to have Soto-Lopez’s vehicle towed—and the March 25, 2019 warrant-based

search by the Troopers was interrupted by the independent and self-initiated actions of

Beck, when he either specifically searched the vehicle or, as he testified, noticed what




46
     United States v. Ceccolini, 435 U.S. 268, 276 (1978) (citing Brown v. Illinois, 422 U.S.).
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appeared to be contraband on the backseat of the vehicle. For further discussion of 1)

why the salient question is whether Beck’s search was in any way instigated, participated

in, or encouraged by any member of the Alaska State Troopers; and 2) why the answer to

that question is “no,” see supra Section IV(B)(2).


                                    VII. Conclusion

        Therefore, this Court recommends that Soto-Lopez’s Motion at Dkt. 17 be

DENIED.



        DATED this 19th day of August, 2020, at Anchorage, Alaska.




                                                 s/ Matthew M. Scoble

                                                 U.S. MAGISTRATE JUDGE




        Reports and recommendations are not appealable orders. Any notice of appeal

pursuant to Fed. R. App. P. 4(a)(1) should not be filed until entry of the district court’s

judgment. See Hilliard v. Kincheloe, 796 F.2d 308 (9th Cir. 1986).




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